

Anderson v Verizon New York, Inc. (2021 NY Slip Op 00226)





Anderson v Verizon New York, Inc.


2021 NY Slip Op 00226


Decided on January 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 14, 2021

Before: Manzanet-Daniels, J.P., Gische, Kapnick, Singh, Mendez, JJ. 


Index No. 302504/14 Appeal No. 12867 Case No. 2019-03289 

[*1]Demoyne Anderson, Plaintiff-Appellant,
vVerizon New York, Inc., et al., Defendants, Cablevision Systems Corporation et al., Defendants-Respondents.


PeÑa &amp; Kahn, PLLC, Bronx (Eric J. Gottfried of counsel), for appellant.
Lester, Schwab Katz &amp; Dwyer, LLP, New York (C. Briggs Johnson of counsel), for Cablevision Systems Corporation and Cablevision Systems New York City Corporation, respondents.
Gannon, Rosenfarb &amp; Drossman, New York (Lisa L. Gokhulsingh of counsel), for Beach Lane Management Co., and 1265 Olmstead Avenue, LLC, respondents.



Order, Supreme Court, Bronx County (Howard Sherman, J.), entered on or about July 15, 2019, which granted defendants' motions for summary judgment dismissing the complaint as against them, unanimously affirmed, without costs.
Plaintiff's attempt to walk through a pile of snow alongside the sidewalk as a shortcut to his parked car, instead of using the portion of the sidewalk that had been cleared of snow and ice, was the sole proximate cause of his accident (see McKenzie v City of New York, 116 AD3d 526, 527 [1st Dept 2014]; see also Tzamarot v JP Morgan Chase &amp; Co., 167 AD3d 550 [1st Dept 2018], lv denied 33 NY3d 904 [2019]).
We have considered plaintiff's remaining contentions and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 14, 2021








